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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


LOREN OWENS,
       Plaintiff,                                   Case No. 1:25-CV-00321
                                                    Hon. Jane M. Beckering
v


Port City Associates Group Corporation,
City2shore Real Estate Inc., Steve Frody,
Shelley Frody, Kellen Keck, Emmersyn Sheak,
and John Does 1-10

Joshua S. Goodrich, J.D., LL.M. (P83197)
LIGHTHOUSE LITIGATION PLLC
5208 W. Saginaw Hwy 81142
Lansing, Michigan 48908
269.312.7435
jsgoodrich@lighthouse-litigation.com
Attorneys for Plaintiff




                    PLAINTIFF’S EX PARTE MOTION AS TO DOES 1-10
                    FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA
                         PRIOR TO A RULE 26(F) CONFERENCE




       Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff Loren J. Owens (“Plaintiff”), and upon the

attached Memorandum of Points and Authorities in support of this motion. Plaintiff respectfully

moves for entry of an order granting her leave to serve third-party subpoena prior to a Rule 26(f)

conference (the “Motion”).
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Dated: March 29, 2024                           Respectfully submitted,
                                         By: /s/ Joshua S. Goodrich, J.D., LL.M.
                                         Lighthouse Litigation PLLC
                                         5208 W. Saginaw Hwy., 81142
                                         Lansing, MI 48917
                                         Email: jsgoodrich@lighthouse-litigation.com
                                         269.312.7435

                                         Attorneys for Plaintiff, Loren J. Owens




                                 CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 29th day of March 2025, a copy of the foregoing PLAINTIFF’S
EX PARTE MOTION AS TO DOES 1-10 FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA
PRIOR TO A RULE 26(F) CONFERENCE was filed with the Clerk of the Court using the CM/ECF
system, which will send notification of such filing to all attorneys of record.

                                         By:    /s/ Joshua S. Goodrich, J.D., LL.M.______
                                                JOSHUA S. GOODRICH, J.D., LL.M.
